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           Deposition Designations for:


                RICHARD FINKE
                 March 30, 2009



                Deposition Designation Key



                CI = Certain insurers (green)

                CNA = Continental Cas. Co &
                   Continental Ins. Co. (red)

                PP’s = Plan Proponents (blue)

                Obj: = Objection

                Ctr = Counter Designation

                R = Relevance

                BE = Best Evidence

                F = Foundation
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                       W. R. Grace & Co., et al.


                                                                         Page 1
                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE




        IN RE:                           Chapter 11

        W. R. GRACE & CO.,               Case No. 01-01139 JKF
        et al

                 Debtors

                  Deposition of RICHARD CHARLES FINKE
        taken pursuant to notice at the law offices of
        Drinker, Biddle & Reath, LLP, 1100 North Market
        Street, Suite 1000, Wilmington, Delaware,
        beginning at 9:35 a.m., on Monday, March 30,
        2009, before Allen S. Blank, Registered Merit
        Reporter and Notary Public.
                                                    1L~i-
       APPEARANCES:                                a. ;: Lev..~¡ n :rV\Su.~ 19r~~h)
                 LISA G. ESAYIAN, ESQUIRE          c.t-A;; Lon..h n en.L"ll L\al~l ÚJ.
                 KIRKLAND & ELLIS, LLP                    f Cun-linC!nl4l (.I . to. tvo:
                 200 East Randolph Drive
                 Chicago, IL 60601
                                                  pp:: PI4V PVC.pont. (~Ii4()
                                                  Obj: ': Obj~(.-l(,n. .
                     For - Debtors                "-f ~ Úc.n-l ~y 1)t'S' ~ l (¡ n
              DANIEL A. SPEIGHTS, ESQUIRE (l:: l2e (tVA.""e.
              SPEIGHTS & RUNYAN          e£:I B~~+ 'EV\ deYc.t.
              200 Jackson Avenue, East    F- ;: Fvt.ndA.f;o r"
              Hampton, SC 29924

                    For - Anderson Memorial Hospital


                          WILCOX & FETZER
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